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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY                   )   MDL NO. 1456
AVERAGE WHOLESALE PRICE                          )
LITIGATION                                       )   CIVIL ACTION: 01-CV-12257-PBS
                                                 )   Subcategory Docket: 06-CV-11337-PBS
                                                 )
THIS DOCUMENT RELATES TO                         )   Judge Patti B. Saris
                                                 )
U.S. ex rel. Ven-A-Care of the Florida Keys,     )   Magistrate Judge Marianne B. Bowler
Inc. v. Abbott Laboratories, Inc., et al., No.   )
06-CV-11337-PBS                                  )
                                                 )

        ABBOTT LABORATORIES INC.’S SUR-REPLY IN OPPOSITION TO
    THE UNITED STATES’ AMENDED STATEMENT OF UNDISPUTED FACTS IN
        SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT



Dated: October 5, 2009                           James R. Daly
                                                 Jason G. Winchester
                                                 Brian J. Murray
                                                 JONES DAY
                                                 77 West Wacker Drive, Suite 3500
                                                 Chicago, Illinois 60601
                                                 Telephone: (312) 782-3939
                                                 Facsimile: (312) 782-8585

                                                 R. Christopher Cook
                                                 David S. Torborg
                                                 JONES DAY
                                                 51 Louisiana Avenue, N.W.
                                                 Washington, D.C. 20001-2113
                                                 Telephone: (202) 879-3939
                                                 Facsimile: (202) 626-1700

                                                 Counsel for Defendant Abbott Laboratories Inc.
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        Defendant Abbott Laboratories Inc. (“Abbott”) respectfully submits this sur-reply to the

United States’ Amended Statement Of Undisputed Facts In Support Of Its Motion For Partial

Summary Judgment (Dkt. No. 6322.). In order to avoid further burdening the Court, the sur-

reply below addresses only the United States response to Abbott’s motions to strike the late-

served expert reports of Mark G. Duggan, Pat Ormond and Ian Dew submitted in support of the

United States’ motion for partial summary judgment.1 These reports should be stricken because

they are untimely and create significant prejudice to Abbott. No facts are admitted or positions

otherwise conceded by reason of Abbott’s silence in reply to any particular reply by the United

States to Abbott’s response in opposition to the United States’ Local Rule 56.1 Amended

Statement of Facts.

        As part of its motion for partial summary judgment, the United States submitted three

new expert reports in its Local Rule 56.1 Amended Statement of Facts, from Messrs. Duggan,

Ormond and Dew. The reports were submitted more than six months after the plaintiffs’ expert

deadline and with limited, and in some cases no, back-up data or explanation. Further, Abbott

was not given an opportunity to cross-examine the experts on their opinions; nor was Abbott

given an opportunity to rebut these new reports with Abbott’s own expert reports. Indeed, as to

Messrs. Ormond and Dew, this was the first time that the United States had even disclosed them

as experts. Abbott moved, as part of its response to the United States’ statement of facts, to

strike these new expert reports.

        The United States’ response to Abbott’s motion to strike does not overcome the fact that

the new expert reports submitted by the United States were untimely. Over a year ago, the

parties agreed to a scheduling order that provided for the United States to submit its expert

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            Abbott moved to strike the reports as part of its response to the United States’ 56.1 Amended Statement
of Facts in Support of Summary Judgment. (Dkt. No. 6455.)
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reports before any of the Defendants submitted their reports. (Dkt. No. 5533) The agreement

between the parties required expert discovery to conclude on May 22, 2009. (Id.) And, the

Government refused to consider an extension to that deadline following its own late production

of expert materials. (See 05/22/09 email from M. Lavine to R. Cook, Ex. A.) The new reports

submitted by the United States as part of its summary judgment papers came more than six

months after the Government’s deadline for submission of its expert reports. These new expert

reports are, therefore, improper. Sutra, Inc. v. Iceland Express, EHF, No. 04-11360-DPW, 2008

WL 2705580, at *5 (D. Mass. July 10, 2008) (excluding plaintiff's expert report due to

“unjustifiably late disclosure after the discovery period has ended and just 8 days before

summary judgment motions were due”).

       In an effort to overcome the untimeliness of these reports, the United States suggests that

the reports are merely summaries of existing data, in compliance with F.R.E. 1006 (allowing

voluminous records to be presented to the court in summary fashion). That is simply not the

case. The new reports contain numerous computations, including Mr. Ormond’s interpretation

of the spread between certain of Abbott’s reported prices and Dr. Duggan’s calculated

acquisition cost. Similarly, Mr. Dew’s report purports to set forth a determination of the

percentage of Abbott’s sales at particular reported prices. These are not summaries of

voluminous evidence, as allowed by F.R.E. 1006, but are instead expert opinions offered in

support of the United States’ positions in this case. In both instances, Messrs. Ormond and Dew

made decisions about what calculations to make and how to make them, and made certain

assumptions about what data to include and exclude from their calculations.

       Dr. Duggan’s new report is also more than a summary. Dr. Duggan spends more than

fifty pages in this new report trying to rebut the arguments made against him in Abbott’s




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Daubert motion (to which the Government has not even responded yet) and to defend his

decision to extrapolate damages from a self-selected and biased sample. Prior to this new report,

Dr. Duggan had already submitted voluminous reports in this case and provided testimony

during several days of deposition. Through all of this testimony, Dr. Duggan has had ample time

to defend his position. He should not be given yet another opportunity to defend his unscientific

efforts after the discovery period, including Abbott’s deposition of him, is closed.

       Should these new expert reports be admitted, Abbott would be significantly prejudiced.

Abbott has had no opportunity to review the underlying data used in these expert calculations,

nor has Abbott had any opportunity to cross-examine the experts to test their assumptions or

conclusions. Without such an opportunity, the assumptions and assertions made by the experts

simply stand, untested. Lohnes v. Level 3 Comm'ns, Inc., 272 F.3d 49, 60 (1st Cir. 2001)

(excluding expert testimony because the plaintiff's “failure to unveil his expert until after

[defendant] had moved for summary judgment deprived [defendant] of the opportunity to depose

the proposed expert, challenge his credentials, solicit expert opinions of its own, or conduct

expert-related discovery,” and noting that “[t]his is exactly the type of unfair tactical advantage

that the disclosure rules were designed to eradicate”); Sutra, 2008 WL 2705580, at *5; Bevolo v.

Carter, 447 F.3d 979 (7th Cir. 2006) (striking party's expert witness disclosure at the summary

judgment stage because it was untimely filed). Additionally, Abbott’s experts have had no

opportunity to review or opine on these late-served submissions.

       For the reasons stated above, this Court should strike the new expert reports of Messrs.

Duggan, Ormond and Dew.




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Dated: October 5, 2009               Respectfully submitted,

                                     /s/ R. Christopher Cook
                                     Daniel E. Reidy
                                     James R. Daly
                                     Jason G. Winchester
                                     Brian J. Murray
                                     JONES DAY
                                     77 West Wacker Drive, Suite 3500
                                     Chicago, Illinois 60601
                                     Telephone: (312) 782-3939
                                     Facsimile: (312) 782-8585

                                     R. Christopher Cook
                                     David S. Torborg
                                     JONES DAY
                                     51 Louisiana Avenue, N.W.
                                     Washington, D.C. 20001-2113
                                     Telephone: (202) 879-3939
                                     Facsimile: (202) 626-1700

                                     Counsel for Defendant Abbott Laboratories Inc.




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